               EXHIBIT 2




#39303256_v1
                                                                                 Long Island City, NY
                                                                              Secure Transportation



                                        LABOR AGREEMENT

        THIS LABOR AGREEMENT, entered into this 7 day of April, 2017 (ratification date}, by and
between GARDA CL ATLANTIC, INC., (formerly known as AT Systems Atlantic, Inc.) as "Garcia" or
"Company", and UNITED FEDERATION OF SPECIAL POLICE AND SECURllY OFFICES, INC. (UFSPSO),
LOCAL 601, hereinafter designated as "Union", made and entered into for the purpose of fixing the
scale of wages, schedule of hours and general rules and regulations affecting employees covered
pursuant to the terms hereof.

                                               PREAMBLE

   A. It is the intention and purpose of the parties to improve labor relations among the
      Company, its employees and the Union, and to further the advancement of the armored
      car industry.

   B. Towards this end, it is the intention of the parties to set forth in this agreement, the rates
      of pay, hours of work and other conditions of employment, for all employees coming
      under the jurisdiction of the Union and covered by this agreement; to provide procedures
      for the equitable adjustment of grievances; and to prevent lock-outs, strikes, work
      stoppages or any other interference with the operation of the Company during the life of
      the agreement.

   C.   It is understood that the Company shall not unfairly coerce employees in the performance
        of their duties.

   D. Employees are required to conduct themselves in a professional manner, and to comply
      with generally understood principles of moral conduct, integrity, and work ethics at all
      times.

   E.   It is with this understanding that this agreement is entered into between the Union, the
        Company, and its employees.

        IN CONSIDERATION of the mutual promises and covenants herein set forth and contained,
        the parties hereto agree as follows:




                                                  1
ARTICLE 1- RECOGNITION:

      The Company recognizes the Union as the exclusive representative for purposes of
      collective bargaining for all full-time and part-time street, shuttle, and vault
      driver/messengers/guards employed by the Company at its facility located in Long Island
      City, New York, exclusive of all office employees and all supervisor employees as defined in
      the National Labor Relations Act as amended.

ARTICLE 2-SENIORITY AND WORK ASSIGNMENTS:

      (a)      Seniority specifically refers to length of continuous service without a break. Any
               break (as hereinafter defined) in continuity will cancel seniority theretofore
               accrued together with any obligations the Company might have to the employee,
               and seniority can be acquired after such break only by re-employment, in which
               case seniority will date from re-employment. Break in continuity of service shall
               result from any of the following: (1) "Discharge not reversed by settlement or
               order''; (2) resignation; (3) continued absence of six (6) months or more from work
               by involuntary act of the employee for any reason with the exception of an
               employee who is on worker's compensation disability or military service in
               accordance with USERRA, in which case the permitted period of absence shall be
               that which is permitted by law, and with the exception of an employee who is laid
               off for lack of work, in which case the permitted period of absence shall be one (1)
               year, (4) voluntary transfer and/or promotion outside of the bargaining unit.

      (b)
             i.    An employee will be classified as a "regular full-time" employee if, and only if,
                   they are regularly scheduled (week after week) to work forty (40) or more
                   hours per work week, as scheduled and assigned by the Company and they are
                   available to work such a schedule.

             ii.   An employee (a) who is originally hired as a part-time employee, and (b) who
                   remains continuously employed and available to work, and (c) who
                   subsequently becomes a "regular full-time" employee shall retain his or her
                   original hire date with the Company for purposes of eligibility to receive the
                   following benefits: holiday pay, service incentive, health insurance, life
                   insurance, retirement, illness reimbursement and wage scale application. "Any
                   benefit based upon an accrual method shall require a part time employee to
                   begin accruing upon becoming a "regularfull-time employee".

            iii.   Part time employees may work forty (40) hours or more in a week and
                   remain part time employees. Part time employees that work forty (40)




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            hours or more hours per week as scheduled by the Company, for 16
            consecutive weeks, will be made full time.



(c)     Promotions and assignments of employees will be made only after giving due
        consideration to seniority, classification and ability of the employee. The preceding
        notwithstanding, the Company shall have sole discretion to designate when and
        where an employee who is actively on the payroll will work.

(d)     The Company and the Union both recognize that there is a place for two person as
        well as three person truck crews. The Company has been involved in armored car
        operations in the United States since 1941, and consistent with such fact has
        developed the expertise to determine appropriate crew compliment and truck
        configuration for the safe and efficient operation of armored car routes. Based on
        the preceding it is understood that any employee refusing his or her job
        assignment, including assignment as part of a two person crew, shall be regarded
        to have self terminated through job abandonment and that such a termination as
        well as the reasonableness and/or correctness of a two person crew designation
        shall not be subject to Article 4 herein.

(e)     All extra work and special assignments will be distributed equitably among all
        regular full-time employees on a rotating basis, as nearly as it is practical on a best
        efforts basis. In the event that the Company is aware of a particular need for
        specific extra assignments at least two (2) days in advance it will post a voluntary
        sign up sheet for those to volunteer for extra assignments. Where practical, the
        Company will attempt to schedule regular full-time employees for such extra shifts
        or assignments so long as such extra shifts or assignments shall not trigger a
        requirement for premium overtime under Article 23 hereof, before scheduling a
        part-time employee for such extra shift or assignment.

(f) ·   When adding to the force of employees, any persons previously laid off, within the
        immediately preceding six (6) month period, shall be taken back in accordance with
        classification, ability and seniority. The Company shall be privileged to decide who
        is the best qualified employee to fill any particular employment opening provided
        that seniority shall be determinative where the Company has determined that
        employees are otherwise equally qualified, and the Company shall notify
        employees of a renewed employment opportunity by telephone or regular mail at
        their last known address, at the discretion of the Company. If any employee fails to
        report within five (5) days after notification, the standing as an employee of any
        such person failing to report within five (5) days shall be forfeited.




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      (g)    When it is necessary for the Company to reduce the number of regular full-time
             employees, they shall be laid off according to the Company's assessment of who is
             the best-qualified employee after considering classification, ability and seniority
             within the affected department and shift. The least senior employee shall be laid
             off where employees' are considered equally qualified by the Company. Those
             regular full-time employees not retained as full-time employees shall be given
             preference for available part-time work at the same rates and conditions as exist
             for part-time employees. In the event that the seniority is exactly the same, and all
             other considerations are equal in the judgment of the Company, the Company may
             employ a coin flip or other random method to decide the senior employee.
             Employees will be recalled based on inverse seniority amongst those that are
             qualified.

      (h)    Preference shall be given to employees for the granting of time off request as long
             as the time requested is available and after giving due consideration to,
             classifications and ability of employees and operational needs of the Company. The
             Company reserves the right to limit the number of persons off in any classification
             to avoid a disruption of its operation. In the event that the seniority is exactly the
             same, and all other considerations are equal in the judgment of the Company,
             the Company may employ a coin flip or other random method to decide the
             senior employee.

ARTICLE 3 - DISCHARGE AND DISCIPLINE:

       (a)   New employees may be discharged at any time during the introductory evaluation
             period of one hundred and eighty (180) days. Employees shall not have access to
             the grievance procedure during the introductory evaluation period.

       (b)   After completion of the introductory evaluation period, no employee will be
             warned or suffer suspension or discharge, except for just cause and in accordance
             with the spirit and intent of Company policy.

       (c)   The Company will administer a system of progressive discipline. The primary
             purpose of said system is to deter and correct unacceptable behavior on the job.

       (d)    Standards of acceptable behavior should be clearly defined and properly
              communicated to employees. Forms of discipline shall be limited to verbal and
              written warnings, suspensions and discharge. The Company at its sole discretion
              may issue a "Final written warning in lieu of a suspension, suspend or issue a final
              written warning in addition to a suspension.




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(e)   Rule violations, acts of negligence and other improper activities such as poor
      performance, especially when the result of negligence, insubordination, willful
      misconduct, violations of laws or regulations, inattention or disregard of
      instructions, may also be cause for disciplinary action.

(f)   Repeated offenses generally result in progressively greater penalties. By way of
      example a minor violation which elicits a verbal warning for the first offense will
      usually draw a written warning on the second offense, suspension on the third
      offense and termination on the fourth.

(g)   Penalties for a first offense may vary from a verbal warning to termination,
      depending on the seriousness of the offense. Regardless of length of employment
      or past performance, certain violations of security procedures, work rules, safety
      policies or common sense are so severe that termination may immediately follow a
      factual determination that there has been such a violation. Such violations include,
      but are not limited to:

       (1) No call, no show-when an employee is scheduled to work he or she is
           required to give at least two hours' notice when they are going to be unable to
           work their scheduled shift. There is no excuse except an intervening
           emergency or other unforeseeable circumstance deemed acceptable by the
           Company and evidenced by supporting documentation.

       (2) Continued failure to complete work assignments per schedule.

       (3) Cheating on the time clock in any way or manner which results in extra time
           which is not necessary to complete one's work assignment or recording time
           that is not valid.

       (4) The use of unlawful drugs or alcohol on the job;

       (5) Reporting for duty under the influence of alcohol or drugs, including
           prescription drugs which create a potential safety issue;

       (6) Operating a vehicle for the Company without a proper license or while driving
           privileges are revoked or suspended by any State of license issuance;

       (7) Transporting unauthorized passengers or using a Company vehicle for
           personal use contrary to Company policy;

       (8) Failure to report a vehicle accident, personal injury or other claim producing




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   event immediately after knowledge thereof, and/or failure to cooperate in the
   investigation of such an event;

(9) Reckless, careless or willful behavior which leads to personal injury or a serious
    preventable accident;

(10)  Involvement in a "serious" or "preventable" accident during the
   introductory evaluation period or a serious preventable accident after the
   introductory evaluation period;

(11) Failure to report suspicious or illegal actions of any person including fellow
    employees whether on duty or off duty;

(12) Failure to act reasonably in notifying the Company of any circumstance
    which could lead to or expose the Company and its personnel to a security risk
    or imminent risk of physical injury or serious property damage or legal
    liability;

(13) Falsification of Company records, including signing in for work, (as
    distinguished from error or mistake);

(14)   Engaging in illegal activity while on or off duty;

(15)   Proven dishonesty or theft;

(16)   Assault or battery related to employment;

(17)   Gross insubordination or gross misconduct;

(18) Acts of violence, intimidation, retaliation, sexual harassment or unlawful
    discrimination.

(19) Improper use of Company provided property or unauthorized use of
    weapons, personal cell phones or other communications, recording, or
    tracking devices.

(20) Disqualification from carrying or other legal inability to carry, a valid gun
    permit or license or driver's license.

(21) Conduct involving a customer or a customer's employee(s) which is
    inappropriate to the work environment, which is illegal, or which exposes the




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           Company to an unnecessary customer or employee relationship problem or
           legal liability.

(h)   All discipline will be in conformance with the spirit and intent of applicable laws
      and regulations. The Company will provide the employee or upon Union's request,
      the Union with a copy of any disciplinary documents. "The Company will maintain
      all disciplinary records in the employee's personnel file. The Company shall
      provide a copy of each disciplinary notice to the employee involved and to the
      Union upon request".

(i)   Warning letters must be based upon just cause, be specific in nature, and clearly
      spell out the alleged violation of an employee. To be considered valid, a warning
      notice must be issued within ten (10) working days after the violation claimed by
      the Company, or the violation becomes known to the Company, exclusive of time
      spent investigating an incident or violation or the absence or lack of availability of
      the employee.

U)    The Company will suspend or discharge an employee for just cause only. Unless
      covered by Section (g) above, no employees shall be discharged or suspended
      unless a written warning letter, notice or communication has been given to said
      employee within the previous twenty-four (24) month period, wherein the facts
      forming the grounds for discipline have been clearly set forth. Such facts set forth
      in any prior disciplinary letter, notice or communication need not be the same or
      similar type as those upon which the then current suspension or discharge is based.

(k)   Section (g) and U) above notwithstanding, the Company shall have sole discretion
      and privilege whether or not to summarily discipline, including suspension or
      termination, or both for inadequate job performance, any personnel under the
      following circumstances:

               i. (i) when said employees are unable to account for an item such as a
                  customer deposit or change order;

              ii. (ii) when said employees are unable to account for missing items in a
                  customer's deposit or change order for which they have been charged
                  with custody of including, but not limited to, if such discrepancy
                  involves a seal that has been tampered, not properly affixed at the time
                  o-f receipt, with or a defective container, bag or box;

             iii. (iii) when an employee refuses complete cooperation concerning
                  reasonable requests with respect to a loss or discrepancy investigation,




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                        provided that employees shall not be obligated to submit to a polygraph
                        examination on any basis other than as a volunteer and in accordance
                        with applicable law, or other investigation being conducted by the
                        Company related to the Company and its operations.

ARTICLE 4- GRIEVANCE AND ARBITRATION:

      (a)   A grievance is defined as a condition that exists as a result of an unsatisfactory
            response or adjustment or failure to adjust a legitimate controversy, claim or
            dispute by an employee, shop steward or the Union concerning rates of pay,
            entitlement to compensation, benefits, hours, or working conditions set forth
            herein, including without limitation, claims of harassment or discrimination or
            hostile work environment in any form, including without limitation, any claim
            based on race, sex, religion, national origin, ethnicity, gender, disability or·
            perceived disability, or age, veteran or military status, or any claim of retaliation for
            making any such or similar claim, or the interpretation or application of this
            Agreement or any agreement made supplementary thereto, or any claim under any
            federal, state or local law, statute or regulation or under any common law theory
            whether residing in contract, tort or equity or any other claim related to or part of
            the employment relationship.

      (b)   Any grievance shall be presented in writing to the Company by the Union
            representative within fourteen (14) calendar days from the occurrence or
            knowledge of the occurrence giving rise to this grievance.

      (c)   Upon submission of a grievance the Company shall have fourteen {14) calendar
            days to respond. If any response is deemed inadequate by the Union, then the
            Union shall have fourteen (14) calendar days to request mediation or arbitration.
            Prior to actual submission to arbitration a management-union meeting shall be
            scheduled to attempt resolution of any dispute for which arbitration has been
            requested. Any agreement to submit the grievance to mediation with the Federal
            Mediation and .Arbitration Service shall stay any arbitration until the mediation is
            held and is unsuccessful or the parties agree to forego mediation. If after such
            management union meeting or mediation, arbitration is still necessary because a
            legitimate as well as significant issue of contract application remains open, then
            both the Company and the Union shall prepare a written position statement for
            submission to the arbitrator.

      (d)   The arbitrator shall be selected from a list of seven (7) provided by the Federal
            Mediation and Conciliation Service or other agreed upon mediation and arbitration
            service, within five (5) calendar days, excluding Saturdays, Sundays and holidays,




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             after a panel has been presented to both parties. The selection from the list of
             seven (7) shall be accomplished by the parties alternatively striking one name from
             the list until one remains. The party striking first shall be decided by a flip of a coin.
             The parties shall alternate the striking of arbitrator names. If the arbitrator
             selected by the parties is not available for a hearing within 6 months of selection,
             the parties agree to re-strike for an arbitrator that would be available {within 6-
             months).

      (e)    The Union and the Company shall each pay one-half {1/2) of the fee charged by the
             arbitrator, the cost of the hearing room, the reporter's fee, per diem, and the
             original copy of the transcript for the arbitrator.

      (f)    The arbitrator shall not have the right to amend, take away, modify, add to,
             change, or disregard any of the provisions of this Agreement. The decision of the
             arbitrator shall be final and binding upon the grievant and all parties to this
             Agreement; provided that, he/she shall have no power or authority to substitute
             his/her discretion for the Company's discretion in situations where the Company
             has retained sole discretion in this Agreement. No award may order back
             compensation for a period of more than six {6) months, unless specifically required
             by federal or state statute or law.

ARTICLE 5 - SCHEDULE OF HOURS:

      (a)    Regular full-time employees shall be guaranteed forty (40) hours work or the
             equivalent thereof in pay in any five (5) days or less per work week, except when
             work is not available because of circumstances beyond the control of the Company
             (power failure, Acts of God, etc.) which necessitate a shutdown of all or a portion of
             the Company's operation. The regular work week shall be Sunday through
             Saturday. The Company has agreed to schedule as many employees as possible
             with flex hours for the purpose of allowing such employees the opportunity to
             work their 40 hour guarantee or more in less than a five (5) day work week allowing
             for more days off during the week. The Company shall designate the days on which
             an employee will work, and shall be privileged, but not obligated to work such
             employee in excess of the number of hours guaranteed per week.

      (b)    There will be a three (3) hour guarantee for regularfull-time employees for any
             night work where an employee is called back. This "call back" guarantee does not
             apply where an employee remains continuously on the clock from their original
             starting time or where the break is less than ninety (90) minutes.

                  i. There shall be a four (4) hour guarantee for full time and part time




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             employees that are placed on the schedule as standby, unless assigned to a
             route.

(c)   The Company shall have sole discretion to schedule vault and/or truck crews as
      well as Street Routes and ATM Routes. Street Routes as well as ATM Routes
      which complete their work day in 9.0 hours or less per work day will not be
      docked for a meal period of .5 hours per work day. The Employees hereto agree
      to an on-duty meal period. Employees may have an off duty meal period if they
      make arrangements with their supervisor in advance of the need or provided the
      supervisor with a written request to renounce the on-duty meal period in
      exchange for an off-duty meal period. The Company shall have the sole
      discretion to assign employees as it chooses to a.llow for any such off-duty meal
      breaks. Employees will be allowed two (2) paid rest stops daily, not to exceed
      ten (10) minutes each, one in the first four (4) hours of the work shift and one in
      the next four (4) hours of the work shift For employees whose shift begins prior
      to 9:00 a.m .., no rest stops shall be allowed after 3:30 p.m. or after the
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      commencement of the seventh (7 ) hour of a work shift or during the
      performance of any special work or where high liabilities are involved or during
      the performance of any pickup or delivery unless such break can be taken in a
      secured environment. If an employee works in excess of twelve (12) hours in a
      given day they may take one (1) additional ten (10) minute break if it can be
      done in a secured environment but it shall not occur during the last hour of work
      unless it occurs at the Branch.

(d)   It is understood that any employee directed to report for work at a certain starting
      time shall be paid beginning from such start time until relieved from duty.
      Employees are not required to begin their work day prior to the designated start
      time; and consistent with such fact, employees are not permitted to clock in on
      their time card prior to the established start time.

(e)   Part-time employees shall be guaranteed four (4) hours of work for each scheduled
      shift and eight (8) hours of work for each non-scheduled call to work or the
      equivalent thereof in pay at straight time hourly rate for each daily call to work,
      other than for Holidays.

(f)   All employees shall be required to personally punch in and out on the Company's
      time clock. All pay computations shall be based on such time clock reading which
      will be measured in tenths of an hour.

(g)   Managers and supervisors may perform bargaining unit jobs for the purposes of
      instruction, training or relief of employees for emergencies.




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ARTICLE 6- HOLIDAYS:

      (a)    During the term of this Agreement, a total of seven (7) days shall be observed as
             holidays during each calendar year. Said seven (7) days to be observed shall be as
             follows:

                       New Year's Day               Thanksgiving Day
                       Memorial Day                 Christmas Day
                       Fourth of July               Employee's Birthday
                       Labor Day

      (b)    Regular full-time employees after completing their introductory evaluation period
             shall be entitled to eight (8) hours straight time pay for the above holidays although
             no work is performed provided that such employees work, or are available to work,
             the regular scheduled work day preceding and following any given holiday and the
             holiday itself if an employee is scheduled to work on a Holiday. Holiday pay as
             opposed to pay for actually working on a holiday shall not be counted toward hours
             worked for premium overtime calculations.

      (c)    Any regular full-time employee who is required to work and does work any of the
             above holidays shall be paid his/her straight time hourly rate for each hour worked
             in addition to any holiday pay he or she may be entitled to, and such employee
             shall be guaranteed eight (8) hours for each such call to work. Time actually
             worked on a holiday shall be counted towards employees weekly total for the
             purpose of calculating payment of an overtime premium, however, time paid for as
             holiday pay shall not be considered when determining payment of an overtime
             premium.

       (d)   A volunteer list will be posted at least two (2) weeks in advance of any holiday for
             those employees who wish to work the holiday. Preference on a seniority basis will
             be given to those volunteering for holiday work. If sufficient employees do not
             volunteer for holiday work, selections will be made from the inverse seniority list
             by classification on a rotating basis for such holiday work.

       (e)   Part-time personnel do not receive holiday pay; however, if a part-time employee
             does work any of the above holidays, said employee shall be paid one and a half (1
             ½) times his/her straight time hourly rate for each hour worked, and such
             employee shall be guaranteed six (6) hours for each such call to work.

       (f)   Employees on disability, FMLA, USERRA or similar leave or extended sick leave are




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              not entitled to pay for holidays which occur during such period of disability or leave
              unless specifically required by applicable law.

ARTICLE 7 - Paid Time Off (PTO)


   (a) GardaWorld believes that employees should have the opportunity to enjoy time away from
       work to help balance their lives. To help foster this idea, we have designed a flexible policy
       to address time away from work. This Paid Time-Off Policy (PTO) provides employees with
       paid time away from work that can be used for vacation, personal time, illness, or time off
       to care for dependents, etc. PTO must be scheduled in advance and have managerial
       approval.

       Regular full-time employees are eligible for paid time off (PTO) after one (1) year of
       employment. All full-time employees will be eligible for PTO, which accrues on a monthly
       basis based upon the Company's Fiscal year; February 1 to January 31. PTO accrual rates
       are based on length of service according to the following schedule ..



                             PTO Accrual Rates- Full Time employees


         Tenure based on Calendar      Approximate Hours
                                                                  Total Hours per year
                    Year                Earned per month



                     1+                        10.66                     128.00



                     6+                        14.00                     168.00



                    11+                        17.33                     208.00


       PTO does not accrue on unpaid or extended leaves of absence including but not limited to
       FMLA, Worker Compensation, USSERA, etc. Consistent with the Family Medical Leave Act
       and USSERA, extended leave shall be defined as any period of absence in excess of twelve
       (12) weeks for any reason.


              Note 1: There is no pro rata benefit for new employees who complete less than
              one fiscal year of continuous service.




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           Note 2: When employees wish to use accrued PTO they must schedule a PTO day
           off with their supervisor a minimum of two weeks in advance.


           Notes 3: Employees may only use accrued time in eight (8) hour blocks to
           compensate for time off due to illness.


           Note 4: Former CDC Employees- Full-time employees who remain continuously
           employed (defined as terminated by CDC on November 30, 2006 and begin
           employment with Garcia CL Atlantic effective December 1, 2006) shall be eligible
           for Paid Time Off as follows:


                            •   Beginning with Fiscal year February 1, 2016, qualified CDC
                                employees will be eligible for PTO as set forth above;
                                provided that, eligibility will be based on giving such
                                employees one (1) year of service credit with Garcia CL
                                Atlantic for every two (2) full years of continuous service with
                                CDC.


(b) Accrual Period


              i.     PTO accruals will become effective each Feb 1st, consistent with the fiscal
                     year, after the ratification of this Agreement. Employees hired after the
                     ratification date of this Agreement will begin to accrue PTO per this article.
                     For newly hired employees, consistent with the fiscal year, PTO accruals, if
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                     applicable, will only become effective the Feb 1 following the successful
                     completion of their introductory evaluation period.


             ii.     PTO accrual increases, based on continued length of service, will be
                     effective the first day of the month following the beginning of the fiscal new
                                       st
                     year (February 1 ).



                            Example: I am a full time employee. My hire date is February 15th at
                            which point I will have 5 years with the Company. Each month, I will
                            accrue 10.00 hours of PTO. February 1st, my higher PTO Accrual rate
                            of 13.33 hours per month will go into effect.




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(c) Scheduling of PTO


                      i.   Business needs dictate the scheduling and granting of PTO and it is
                           subject to management approval. The Company reserves the right
                           to limit the number of employees off so as not to disrupt its
                           operation. Paid Time off maybe generally denied during times of
                           high business demand and necessity. Management has the right to
                           designate periods during which you may not take PTO (Black-Out
                           Dates). Each site owner will manage the process for requesting PTO
                           at their site.


                     ii.   Employees are required to use available PTO when taking time off
                           from work, including under certain leaves of absences, with the
                           exception of a company-required absence due to decreased work
                           load when work is not available because of circumstances beyond
                           the control of the Company (power failure, Acts of God, etc.) which
                           necessitate a shutdown of all or a portion of the Company's
                           operation.


                    iii.   If applicable, when one of the recognized holidays set forth in
                           Article 6 hereof falls within an employee's PTO leave period, such
                           employee shall receive eight (8) hours of pay for such holiday.


                    iv.    Employees request time off using a Time Off Request form which
                           can be obtained from a member of management at each site.


                     v.    Unscheduled Absences will be monitored. An employee will
                           counseled according to the Company's Time and Attendance
                           guidelines for unscheduled absences.


(d) Selection of Paid Time Off

                                                                                     st
                      i.   All employees will have from December 1 to January 31 (hereafter
                           defined as the "Selection Period") to select all Paid Time off for the
                           following fiscal year beginning February 1st_ Approval of time off will
                           be governed by Company seniority and operational availability
                           during the selection period. Following the selection period, all paid
                           time off approvals will be governed on a first-come-first-serve basis
                           and operational availability. In the event that the seniority is
                           exactly the same, and all other considerations are equal in the




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                            judgment of the Company, the Company may employ a coin flip or
                            other random method to decide the senior employee.


                      ii.   Immediately following ratification of this agreement, a one-time
                            extended selection period will be granted. All employees must
                            request all PTO time for fiscal year 2017-2018 by March 1, 2017.
                            Selection of time off will be governed by seniority and operational
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                            availability until March 1 \ Following the one time extended
                            selection period, all paid time off approvals will be governed on a
                            first-come-first-serve basis and operational availability. In the event
                            that the seniority is exactly the same, and all other considerations
                            are equal in the judgment of the Company, the Company may
                            employ a coin flip or other random method to decide the senior
                            employee.


                     iii.   All PTO must be utilized in the same fiscal year for which it is
                            accrued, or lose any remaining hours. Employees may not carry over
                            any unused PTO into the following fiscal year for which it was not
                            accrued. Furthermore, employees are not allowed to sell any of
                            their PTO.


                     iv.    GardaWorld may also decide to pay you for any unused, accrued
                            PTO at the end of the fiscal year if you were scheduled to work
                            through a scheduled PTO day or period for operational exigencies.



(e) Payment of PTO

             PTO is paid at the employee's straight time hourly time rate and will include
             Crew Leader premiums if applicable, excluding any differential/premium that
             he/she may ordinarily receive, and is not part of any overtime calculation.


(f) PTO Advances

                   PTO may be used before it is accrued only with management approval.


(g) PTO Payment Upon Separation




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                   Accrued but unused PTO that is available for the respective fiscal year will
                   be paid out upon separation regardless of the reason for separation.
                   Consistent with applicable state law, negative PTO balances will be
                   deducted from final pay; GardaWorld will comply with all minimum wage
                   laws.


(h) Part-time employees will be subject to all applicable sick leave policies and legislation as
    set forth in the New York City Earned Sick Time Act. Under New York City's Earned Sick
    Time Act (Paid Sick Leave LawL covered part time employees are able to utilize sick
    leave for the care and treatment of themselves or a family member. Covered part time
    employees accrue one hour of sick leave for every 30 hours worked, up to a maximum
    of 40 accrued hours in a calendar year.

(i) 2017 Transition Year

                                              11                                           11
       a.   During this "2017 Transition Year employees will have two separate "banks of
            time which must be used by specific deadlines any time off currently accrued or
            available under the previous policy will handled as follows:

                i. Bank 1
                      1. Any currently available paid time off that employees have not used
                          from their 2014-2015 accruals (time used from 2016-2017).
                              a. Example
                                       i. Anniversary date- 07/01/2006
                                      ii. 07/01/2014-06/30/2015-
                                              1. Employee accrued total of 2 weeks' vacation
                                                 to be used in 2016 anniversary year.
                                     iii. 07/01/2015-current
                                              1. Employee utilized 1 week of vacation
                                     iv. Bank 1- Employee has 1 week vacation remaining.

               ii. Bank 2
                      1.. Any time that employees have accrued between their 2017
                          anniversary date and January 31, 2018 will be advanced for use
                             a. Example
                                       i. Anniversary date- 07/01/2006
                                      ii. 07/01/2017-01/30/2017
                                              1. Pro-rated advanced accrual would be 40
                                                  hours.
                                     iii. Bank 2-




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                                                  1. Employee has 40 hours advanced to utilize.


          b. Deadline
                i. All employees PTO banks must be taken by Jan 31, 2018.

          c.   PTO Accounting

                    i. All employees will receive an account of their Bank 1 and Bank 2 balances
                       that will be available for use as described above of this agreement.

          d. Transition

                    i. Employees will accrue their go-forward PTO with the new policy accruals
                       beginning on Feb 1, 2017 to be used starting Feb 1, 2018 ("Ongoing
                       Accrual" or "Accrual").

                   ii. Employees may not carry over any unused PTO into the following fiscal year
                       and are responsible for requesting and scheduling time off with their
                       supervisor. If an employee has not taken all earned PTO within the fiscal
                       year it is earned, the employee will lose any remaining PTO hours.

                  iii.   Employees will be transitioned to new policy FY2018 (Feb 1, 2017)

ARTICLE 8- BONDS, UNIFORMS, EQUIPMENT AND LICENSES:

   (a) The Company will furnish Company issue uniforms, ammunition and identification cards
       and badges. The Company will provide new uniform pants and shirts when such new
       uniforms are necessary. As a material consideration for the wages and benefits herein
       provided for, the employees shall be expected to pay the cost of cleaning their uniforms
       and shall keep same in good appearance at all times. The Company will use due diligence
       in seeing that the equipment is kept clean, and the employees will likewise do their share
       towards achieving cleanliness of the equipment.

   (b) All permits, licenses or physical health certificates required by any State or Federal agency
       for armored car personnel whether affecting operation of the armored truck or the
       carrying of a weapon must be obtained by the employee, and at the employee's expense,
       before such employee goes to work and shall be maintained on an annual basis by the
       employee. The Company will reimburse employees one hundred percent (100%) of the
       cost associated with obtaining any permit, license or physical health certificate which is
       required as a condition of employment provided the employee completes the introductory




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      evaluation period and the employee submits an appropriate receipt for any such expense.
      Additionally, the Company will reimburse employees one hundred percent {100%) of the
      out-of-pocket cost of renewing any permit, license or physical health certificate which is
      required as a condition of employment provided the employee renews prior to expiration
      and presents the Company with an appropriate expense receipt. The Company will
      submit to payroll for an employee's reimbursement upon verification of license, permit
      or certificate renewal and a copy of the paid receipt".

   (c) An employee shall not be required to deposit a cash bond.

   (d) The Company shall be entitled to deduct from an employee's final paycheck the cost of the
       uniform and any other Company property supplied to an employee if such property is not
       returned at the employee's termination of employment.

   (e) The Company recommends that all street employees wear a bullet resistant vest or vest
       cover while on the job, in the event that an employee chooses to wear a bullet resistant
       vest and/or vest cover on the job, such employee shall be required to request in writing
       that he/she be provided with same. The Company agrees to provide such a vest within a
       reasonable time following a written request and the Company will replace said vest when
       same is determined to be in poor working condition through ordinary use and wear over
       time. The Company will purchase the vest. The vest will remain the property of the
       Company and shall be returned upon termination of employment.

ARTICLE 9- HEALTH AND WELFARE:

   (a) The Company agrees that all regular full-time employees will be offered enrollment in a
       Company provided or sponsored health insurance program, which is at least equal to that
       provided or sponsored for local management.

   (b) Health care coverage is available for all regular full-time employees the first of the month
       following ninety {90) days of continuous employment for group benefits; provided that, a
       new employee must secure all required licenses and permits as a condition for benefit
       eligibility.

   (c) Eligible employees shall be required to contribute towards the cost of medical plans
       through payroll deductions in an amount as establish by the Company from time to time.

   (d) Leave - Consistent with the Family and Medical Leave Act the Company will continue
       contributions up to 12 weeks of an approved FMLA leave provided the employee also
       makes his or her contribution as provided by law. An employee who is off work for any
       reason for more than thirty (30) calendar days shall not be eligible for Company




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       contributions the 1st day of the month following the expiration of the thirty {30) day
       period described herein. Employees who wish to continue coverage shall be eligible to
       continue coverage at their own expense at the same premium rate paid by the Company
       consistent with the dictates of C.O.8.R.A. assuming such employees act in a timely manner.

      An employee who is offwork for any reason for more than thirty {30) calendar days shall
      not be eligible for Company contributions under this Article until the employee returns to
      active duty and completes a ninety {90) day waiting period, except where the Family and
      Medical Leave Act or USSERA is involved in which case the rules associated with said act
      shall be controlling. Employees who are entitled to dependent and family coverage shall
      also be eligible for such coverage after completing a ninety {90) day waiting period. An
      employee who returns to active duty for five or less work days after being off duty for
      thirty {30) or more calendar days, and again goes off work for five or more consecutive
      work days, shall be deemed to have been on a continuous leave of absence for the
      purpose of this Article.

ARTICLE 10- LIFE INSURANCE:

          (a) Upon completion of program eligibility requirements, the Company will provide full
              time employees with a life insurance benefit as offered to all other employees
              consistent with applicable policy. Current program offering is equal to
              approximately one times an employee's annualized base rate of pay. In the event
              of an accidental death this benefit will provide approximately two times an
              employees annualized base rate of pay subject to standard exclusions, including
              but not limited to activities such as skydiving.

ARTICLE 11- RETIREMENT:

   (a) All employees will be eligible to enroll, consistent with plan terms, in a Company sponsored
       retirement program which is at least equal to that provided for local management.

ARTICLE 12-SAFETY:

   (a) The Company shall not require employees to take any vehicle out on the streets or
       highways that is not in a safe operating condition or equipped with the safety appliances
       prescribed by law. It shall not be a violation of this Agreement when employees refuse to
       operate such equipment when such refusal is justified.

   (b) Employees shall immediately or at the end of their shift report all defects concerning
       vehicles. The reports shall be made on a suitable form furnished by the Company and shall
       be made in multiple copies, one copy to be retained in the vehicle. Failure to make out




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       reports may subject the employee to discipline.

   (c) The Company will not ask or require any driver to take out equipment that has been
       reported by any other driver as being in an unsafe operating condition until same has been
       approved as safe by the Company, including but not limited to a qualified mechanic, and
       documented such by signing the DVIR. Employee is responsible to comply with all
       company safety programs, including but not limited to the Drug and Alcohol Policy.

ARTICLE 13 - TRAFFIC VIOLATIONS:

   (a) No driver shall be required to violate traffic laws or loading regulations. If a driver is issued
       a traffic ticket or citation for parking and equipment violations made in accordance with
       instructions from the Company, the Company shall be responsible for the payment of such
       citation. Traffic tickets or citations issued to the employee must be submitted to the
       Company within forty-eight (48) hours excluding weekends and holidays and if not so
       delivered, the Company shall not be responsible for the payment thereof. Causing the
       Company to incur additional costs for failing to turn in a parking ticket as set forth above
       shall be grounds for disciplinary action.

   (b) Moving violations shall be the sole responsibility of the employee including, but not limited
       to, red light and speed camera violations.

   (c) Employees will be responsible for traffic tickets/violations/fines assessed concerning
       designated handicap areas and/or crosswalks.

ARTICLE 14- EQUAL EMPLOYMENT OPPORTUNITY:

   (a) Company policy is that there shall be no discrimination in referrals for employment,
       recruiting, hiring, promotions, compensation and supplementary benefits with respect to
       race, ancestry, color, religion, national origin, union affiliation, age (over 40), sex,
       disability/physical handicap (including AIDS), marital status, or cancer-related medical
       condition{s) or other basis prohibited by applicable law, for all classifications of employees.

ARTICLE 15 -STRIKES AND LOCKOUTS:

   {a) During the term of this Agreement the Union agrees that there shall be no strikes,
       sympathy strikes, work stoppage, slowdown, picketing, concerted refusal to work, or other
       interruption of work during the term of this agreement for any reason whatever,
       specifically including, but not limited to, sympathy strikes and unfair labor practice strikes
       and the Company agrees that there shall be no lockouts. It is also understood and agreed
       that no pickets whether at the Company's place of business or at the place of business of




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      Company's customers shall be honored or otherwise recognized during the term of this
      Agreement.

   (b) The Union will actively discourage and will take immediate action to prevent or terminate
       any strike, work stoppage, slowdown, picketing, concerted refusal to work, or other
       interruption of work during the term of this agreement. Also, upon notice from the
       Company of any such circumstance, the Union or its designee will, within twenty four (24)
       hours, notify the employees and the Local Union officers by telephone and in writing by
       facsimile with a copy to the Company, that the strike, work stoppage, slowdown, picketing,
       concerted refusal to work, or other interruption of work is unauthorized and that the
       employees involved shall immediately cease their violation.

   (c) Any employee who participates in a strike, work stoppage, slowdown, picketing, concerted
       refusal to work, or other interruption of work as defined in this Section, during the term of
       this Agreement shall be subject to immediate termination in the discretion of the Company
       without any grievance or arbitration rights.

   (d) The Union agrees to hold the Company harmless for any damages caused by a strike, work
       stoppage, slowdown, picketing, concerted refusal to work, or other interruption of work in
       violation of this Agreement which is sanctioned by the Union; however, if the Union
       follows 16(b) of this Article 16, it will not be held liable under this section.

ARTICLE 16-ACCIDENT INCENTIVE (OUTSIDE OPERATIONS):

   (a) The Company will pay incentives to truck employees who work out on the street per
       fiscal year in accordance with the company sponsored safety program. Please review
       the Plan documents for the specifics of this plan.

ARTICLE 17 - FUNERAL LEAVE:

   (a) In the event an employee experiences the unfortunate circumstance of a death in his or
       her family said employee shall be entitled to receive a funeral leave of absence as follows
       upon request:
                    i. Three (3) days leave where the deceased is an employee's current spouse,
                       natural or adopted mother or father; natural or adopted son or daughter,
                       natural or adopted brother or sister.

                  ii.   Two (2) days leave where the deceased is an employee's step-son or
                        daughter by the employee's current spouse, natural or adopted
                        grandparent or grandchild, or natural or adopted parent of current spouse.




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                  iii.   A one (1) day leave where the deceased is an employee's natural or
                         adopted aunt or uncle, natural or adopted first cousin, natural or adopted
                         niece or nephew, ex-spouse provided their marriage produced natural or
                         adopted children, step-brother or sister.

   (b) The company will pay employees a bereavement supplement equal to eight (8) hours
       straight time pay including crew leader premium if applicable for each day an employee is
       absent from work on funeral leave as described in Article 18 (a) above. This supplement
       applies to regular full-time employees only.

   (c) Bereavement leave must be taken contemporaneously with the loss of a loved one.(i.e.
       within two weeks of the death)

   (d) All requests for bereavement leave are subject to verification by management.

ARTICLE 18-JURY DUTY:

   (a) Due to the demands and requirements of the Company's business and our industry in
       general, the Company does not supplement employees if they are required to actually
       serve on jury duty; except that, the Company will pay a full time employee who is required
       to report for jury duty the difference between his or her one (1) day jury duty fee and up to
       three (3) days' pay at the employee's straight time hourly rate including crew leader
       premium, if applicable. This benefit applies to regular full-time employees only. Any
       employee asked to be a witness for the Company shall receive up to eight (8)hours pay
       for each full day he/she is called to testify and unable to work as scheduled.

ARTICLE 19 - MI LITARY LEAVE

   (a) Company policy and practice is to comply with the rules and regulations associated with
       military service obligations of reservists and employees who may be called to active duty
       pursuant to USSERA.

ARTICLE 20-TRAINING:

   (a) Both the Company and the Union agree that training is useful towards the proper
       development of qualified armored car personnel. Therefore, the Company and the
       Union have agreed to the following.

                 i.      The Company is to schedule a series of instruction and testing sessions
                         which new employees must attend as part of their introductory
                         evaluation period as well as a condition of completing their introductory




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                      period.

                ii.   Employee will be scheduled for periodic instruction and testing sessions
                      as well as refresher sessions on a scheduled day off or after normal work
                      hours. Hours spent at such sessions are not to be counted as part of the
                      regular work week, however, employees shall receive training pay equal
                      to their straight time hourly rate for all hours spent participating in
                      instruction and or refresher training sessions.

               iii.   All employees who have not previously operated a vehicle with air-brakes
                      will receive training in the inspection and the safe operation of the "air­
                      brake" prior to being required to drive trucks so equipped.

ARTICLE 21-SAVINGS CLAUSE:

   (a) Should any portion of this Agreement become invalid or unenforceable by reason of
       Federal, State or Local law or regulation, the remainder of this Agreement shall be
       unaffected thereby. When any such law or regulation has been rescinded the applicable
       contract language shall again be operative as negotiated.

ARTICLE 22-WAGE SCALE



   (a) Wage Scale: Minimum hourly base rate scale for all full-time and part-time driver­
       messenger-guard employees:



                                     * Jan 1, 2017

              Start                    $14.10

              January 1, 2017          $0.20**

              January 1, 2018          $0.15 **

              December 30, 2018        $0.80 **

      *Effective as of the beginning date of the first full payroll period in the month and year
      indicated.

       **Increases will be withheld until a new employee has secured all required licenses and




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   permits.



(b) Redline rate: Upon execution ofthe Collective Bargaining Agreement, the redline rate
    shall be twenty dollars ($20.35). An employee's base wage must not exceed the redline
    rate. Employees at the red line rate shall be eligible to earn Crew Leader pay if
    designated as such by the Company.

(c) Service Bonus:
       a. Effective upon ratification:
               i. Employees who have been employed with the Company for more than
                   fifteen (15) years as of the date of ratification ofthis Agreement shall
                   receive an additional PTO day on their anniversary date. This is a one­
                   time bonus that is issued to the employee only upon the employee
                   completing 15 years of service.

               ii. Employees who have been employed with the Company for more than
                   fifteen (20) years as of the date of ratification of this Agreement shall
                   receive an additional PTO day on their anniversary date. This is a one­
                   time bonus that is issued to the employee only upon the employee
                   completing 20 years of service.

              iii.   Employees who have been employed with the Company for more than
                     fifteen (25) years as of the date of ratification of this Agreement shall
                     receive an additional PTO day on their anniversary date. This is a one­
                     time bonus that is issued to the employee only upon the employee
                     completing 25 years of service.

       b. PTO days issued to employees are subject to all policies and procedures in
          effect as seen in Article 7 of this agreement.

(d) Crew Leader Premium:

           (a) The Company will pay a Crew Leader Premium of two Dollars and twenty five
               cents ($2.25) per hour to any employee designated as a "Crew Leader" in
               charge of a Route on any workday.


           (b) Part-time employees cannot be designated as a designated regular crew
               leader in charge of a Route; however, due to special circumstances on any




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                                    given work day local management can designate a part-time employee as the
                                    crew leader on a specific Route for that day.


                                 (c) Subject to the Company's sole discretion the qualifications for maintaining
                                    one's status as a crew leader may include, but not necessarily be limited to,
                                    the following:


                                                i.   An employee obtaining and maintaining a commercial driver's
                                                     license (CDL) on a current basis.


                                               ii. An employee obtaining and maintaining all required guard and
                                                     gun permits or licenses on a current basis.


                                               iii. An employee obtaining and maintaining a DOT physical health
                                                     certificate on a current basis.


                                               iv. An employee assuming responsibility for and accomplishing
                                                     completion of his or her assigned duties in an accurate
                                                     manner as well as in conformance with Company and/or
                                                     customer scheduling.


                                               v. An employee who is in good standing for performance and
                                                     attendance as specified by the Company.


                                 (d) The Company shall have the sole discretion to determine the total number of
                                    designated crew leaders at any given time. It may limit the number of
                                    designated crew leaders on routes or shifts.


                                 (e) A person who is demoted from designated crew leader status who has
                                     previously been a designated crew leader for at least the last seven (7)
                                     immediately preceding years shall have the right at the end of the demotion
                                     period, so long as performance during the demotion period specified has been
                                     satisfactory in accordance with the Company's sole discretion, such demoted
                                     designated crew leader has the right to assume the designated crew leader
                                     status from the most junior designated crew leader.




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   (e) CDL Compensation:

             i.   A class A Driver/Messenger employee who is required to make runs of 700
                  miles or more will receive .33 cents a mile. A class A Driver/Messenger
                  employee who is required to make runs of 700 miles or more will receive an
                  additional $15.00 per day in addition to their regular rate. This applies
                  specifically to the driver so long as the driver maintains a "Class A" license.

            ii.   A Driver/Messenger employee who is assigned to drive a tractor-trailer
                  locally will receive $40.00/day in addition to their regular rate.


ARTICLE 23- BULLETIN BOARD, ACCESS AND UNION STEWARDS:

   (a) Union Stewards -The Company recognizes the right of the Local Union to designate
       Stewards and alternates from the Company's seniority list. The authority of the
       Stewards and alternates so designated shall be limited to and shall not exceed the
       following duties and activities:

                  iv. The investigation and presentation of grievances to the Company or the
                      designated Company representative in accordance with .the collective
                      bargaining agreement;

                  v. The transmission of such messages and information, which shall originate
                     with, and be authorized by, the Local Union or its officers provided such
                     information and/or message:

                         1. Has been reduced to writing; or
                         2. If not reduced to writing, are of a routine nature and do not
                            involve work stoppages, slowdowns, refusal to handle goods, or
                            any other interference with the Company's business.

      The Union agrees to these limitations upon the authorized Stewards and alternates.
      The Union shall not be liable for unauthorized acts of the Stewards.

      The Steward or the alternate shall be permitted reasonable time to investigate, present
      grievances and process grievances. Where mutually agreed to by the Local Union and
      the Company, the Steward and/or the alternate may investigate grievances off the
      property or other than during their regular schedule. The Company recognizes the right
      of the Steward and/or his or her alternate to be represented by another Steward or
      alternate should such Steward or alternate reasonably contemplate disciplinary action.




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   (b) Bulletin Board and Access - Subject to prior notice and approval by the Company, the
       Company agrees that authorized union representatives will have access to designated
       areas of the Company's facility for the purpose of providing representation of bargaining
       unit members and the carrying out of other legitimate Union business. It is understood
       that the Company will not unreasonably withhold visitation approval as contemplated
       herein.

         The Company shall make suitable space available for a Union bulletin board. Posting by
         the Union shall be confined to official Union business. No posting will be done by the
         Union which will in any way interfere with the conduct of the Company's business. The
         Union shall have no access to the Company's e-mail system, phone system or other
         electronic data systems

   (c) New Hire List: The Company will monthly provide a list of all new employees hired by the
       Company during the most recently preceding month.

ARTICLE 24 - MANAGEMENT RIGHTS:

   (a)      The Company shall have the sole right to manage its facilities and operations and direct
            its working force . Such right includes, but is not limited to, the right to plan, direct and
            control operations; to hire, lay off, assign and transfer employees from jobs and
            departments; to schedule hours of work, shifts, crew, crew composition, routes, job
            classifications, overtime and holiday work; to promote, discipline, suspend or discharge
            employees for cause; to relieve Employees from duty due to lack of work, operational
            exigencies or other reasons; to introduce new or changed operations, processes,
            methods and equipment; to adopt and enforce regulations to carry out the policies and
            functions of management; to fix and enforce standards of work and quality; to
            determine and fix the size of the working force and the extent to which operations will
            be carried on; to determine safety, health and property protection measures; to
            determine the number of personnel to be employed at the Company; and to adopt and
            enforce regulations for the control and direction of the working force, except as
            otherwise set forth in this Agreement. All Company rules, policies or practices
            obligating employees to follow Company procedures in existence at the time of the
            execution of this Agreement shall remain in effect unless specifically revoked by a
            specific provision herein or until revoked, modified, superseded or changed by the
            Company. If there is a conflict between the rules, regulations and policies and the
            collective bargaining agreement the collective bargaining agreement shall prevail.

   (b)      An Employee who quits is expected to give two weeks' notice to the Employer.

   (c)      An employee who leaves the Company MUST return all uniform articles, ID card and




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          Company manuals.

ARTICLE 25- DUES CHECK OFF:

   (a) The Company agrees to notify the Union of the names, addresses and Social Security
       numbers of all new hires on or before the tenth (10th ) working day after the end of the
       month of hire.

   (b) Upon receipt of a copy of an agreed upon written authorization form voluntarily signed by
       the employee, the Company will deduct from the employee's pay an amount equal to the
       dues Union members pay on a bi-weekly basis, provided that such payroll deduction
       authorization is valid and in effect. The Union shall indemnify and hold the Company
       harmless from and against any and all claims, demands, suits, or other forms of liability
       that may arise out of the Company's good faith compliance with this provision as well as
       the Company's otherwise honoring Union payroll deduction authorization.

   (c) The Company shall forward the dues collected from Union not later than the 10th day of
       the month immediately following the month in which the subject dues were collected by
       the Company.

ARTICLE 26 - UNION SECURITY


   (a) All employees covered by this Agreement who are not already members of the Union
      · on the effective date of this Agreement shall become and remain members of the
                                                      st
        Union in good standing on the thirty-first {31 ) day following the beginning of their
        employment or the effective date of this Agreement whichever is later, as a condition
        of continued employment.


   (b) Employees meet the requirement of being members in good standing with the Union,
      within the meaning of this Article, by tendering the periodic dues and initiation fees
      uniformly required as a condition of acquiring or retaining membership in the Union or,
      in the alternative, at the employees' option, by tendering to the Union financial core
      fees and dues deemed lawfully chargeable by the U.S. Supreme Court.


   (c) In the event that the Union requests the termination of an employee for failure to
      comply with the provisions of this Article, it shall serve written notice on the Company
      requesting that the employee be terminated effective no sooner than two (2) weeks of
      the date of that notice. The notice shall contain the reason (s) for said termination. In
      the event the Union subsequently determines that the employee had remedied the




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      default prior to the termination date, the Union will notify the Company and the
      employee and the Company will not be required to terminate the employee.


   (d) The Union shall indemnify and hold harmless from and against any and all claims,
      demands, suits or other forms of liability that may arise out of the Company's good faith
      compliance with the above request to terminate an employees' employment under this
      Article.


ARTICLE 27- LEGALITY/SEVERABILITY



   (a) Should the parties hereafter agree that applicable law renders invalid or unenforceable
       any of the provisions of this agreement, including all agreements, memoranda of
       understanding, or letters supplemental, amendatory, or related thereto, the parties may
       agree upon a replacement for the affected provisions. Such replacement provisions shall
       become effective immediately upon agreement of the parties, without the need for
       further ratification by the Union membership, and shall remain in effect for the duration
       of the agreement.


   (b) In the event that any ofthe provisions of this agreement, including all memoranda of
       understanding, or letter supplemental, amendatory, or related thereto, shall be or
       become legally invalid or unenforceable, such invalidity or unenforceability shall not
       affect the remaining provision thereof.




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ARTICLE 28-TERM OF AGREEMENT:



       Upon execution by the parties, this Agreement shall be effective as of June 1, 2016 and
       shall remain in full force and effect through midnight, May, 31, 2019.



       IN WITNESS WHEREOF, the parties hereto have caused thi~greement t~        9~
                                                                                 ~xecuted by •
       the respective officers thereunto duly authorized this /y.• day of / / / ./c /  2017.
                                                                                      i
                                                                                          I




FOR THE UNION:                               FOR THE COMPANY:

UNITED FEDERATION OF                         GARDA CL ATLANTIC, INC.
SPECIAL POLICE AND SECURITY
OFFICERS, INC.
{UFSPSO), LOCAL 601




                                              Its: Regional Dir. of Labor & Employee Relations




By:_ _ _ _ _ _ _ _ __




Its:_ _ _ _ _ _ _ _ __




                                               30
